     Case: 24-10455   Document: 29        Page: 1   Date Filed: 09/04/2024




                            No. 24-10455


                        IN THE
            UNITED STATES COURT OF APPEALS
                 FOR THE FIFTH CIRCUIT


                 CHRISTOPHER RUSANOWSKY,
                         Plaintiff-Appellant,
                                     v.
   THE CITY OF DALLAS; SERGEANT ROGER A. RUDLOFF,
INDIVIDUALLY AND IN HIS OFFICIAL CAPACITY AS A DALLAS
         POLICE DEPARTMENT POLICE OFFICER,
                       Defendants-Appellees.


          On Appeal from the United States District Court
         for the Northern District of Texas, Dallas Division
         Civil Action No. 3:22-cv-1132, Judge Ed Kinkeade

                      RECORD EXCERPTS


Peter B. Steffensen                  Thomas S. Leatherbury
SMU DEDMAN SCHOOL OF LAW             Thomas S. Leatherbury Law, PLLC
FIRST AMENDMENT CLINIC               Cumberland Hill School Building
P.O. Box 750116                      1901 North Akard Street
Dallas, TX 75275-0116                Dallas, TX 75201-2305
(214) 768-4077                       (214) 213-5004
psteffensen@smu.edu                  tom@tsleatherburylaw.com

       Counsel for Appellant Christopher Rusanowsky
        Case: 24-10455   Document: 29   Page: 2   Date Filed: 09/04/2024




                         TABLE OF CONTENTS

Tab #                                                              ROA

1           Docket Sheet ……………………………………………ROA.1

2           Notice of Appeal ………………………………………..ROA.1117

3           Final Judgment ………………………………………...ROA.1116

4           Order on Cross-Motions for Summary Judgment
            (Qualified Immunity) …………………………………..ROA.1071

5           Order on City of Dallas’s Motion for Summary
            Judgment (Municipal Liability) ………………………ROA.1114

6           Declaration of Christopher Rusanowsky …………….ROA.921

7           Rusanowsky’s Photographs
            of Protest and Arrests ………………………………….ROA.936

8           Photographs of Sgt. Rudloff
            Arresting Rusanowsky …………………………………ROA.1024

9           Officer Declarations ……………………………………ROA.680

10          Certificate of Service
Case: 24-10455   Document: 29   Page: 3   Date Filed: 09/04/2024




                 Tab 1
              Case: 24-10455         Document: 29   Page: 4     Date Filed: 09/04/2024


                                                              APPEAL,CLOSED,HORAN,JURY,STTMM
                                   U.S. District Court
                            Northern District of Texas (Dallas)
                      CIVIL DOCKET FOR CASE #: 3:22-cv-01132-K

Rusanowsky v. The City of Dallas et al                        Date Filed: 05/23/2022
Assigned to: Judge Ed Kinkeade                                Date Terminated: 08/31/2022
Case in other court: USCA5, 24-10455                          Jury Demand: Both
Cause: 42:1983 Civil Rights Act                               Nature of Suit: 440 Civil Rights: Other Civil
                                                              Rights
                                                              Jurisdiction: Federal Question
Plaintiff
Christopher Rusanowsky                         represented by Jozef Sebastian Van Coevorden
                                                              Ellwanger Law LLP
                                                              400 S Zang Boulevard, Suite 600
                                                              Dallas, TX 75208
                                                              469-998-6775
                                                              Fax: 469-903-6002
                                                              Email: svancoevorden@equalrights.law
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED
                                                              Bar Status: Admitted/In Good Standing

                                                              Michael Welles Shapiro
                                                              SMU Dedman School of Law
                                                              First Amendment Clinic
                                                              PO Box 750116
                                                              Dallas, TX 75275
                                                              214-768-4077
                                                              Fax: 214-768-1611
                                                              Email: mshapiro@smu.edu
                                                              TERMINATED: 06/29/2022
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED
                                                              Bar Status: Admitted/In Good Standing

                                                              David Warren Henderson
                                                              Ellwanger Henderson LLLP
                                                              400 S Zang Blvd
                                                              Suite 600
                                                              Dallas, TX 75208
                                                              469-903-6000
                                                              Email: dhenderson@equalrights.law
                                                              ATTORNEY TO BE NOTICED
                                                              Bar Status: Admitted/In Good Standing

                                                              Thomas S Leatherbury
                                                              Thomas S Leatherbury Law PLLC
                                                              1901 N Akard St


                                                                                                24-10455.1
                Case: 24-10455           Document: 29   Page: 5     Date Filed: 09/04/2024

                                                                  Dallas, TX 75201
                                                                  214-213-5004
                                                                  Email: Tom@tsleatherburylaw.com
                                                                  ATTORNEY TO BE NOTICED
                                                                  Bar Status: Admitted/In Good Standing

                                                                  Peter Blackmer Steffensen
                                                                  SMU Dedman School of Law
                                                                  PO Box 750116
                                                                  Dallas, TX 75275-0116
                                                                  214-768-4077
                                                                  Fax: 214-768-1611
                                                                  Email: psteffensen@mail.smu.edu
                                                                  ATTORNEY TO BE NOTICED
                                                                  Bar Status: Admitted/In Good Standing


V.
Defendant
The City of Dallas                                 represented by John Cheves Ligon
                                                                  Dallas City Attorney's Office
                                                                  1500 Marilla Street
                                                                  Dallas, TX 75201
                                                                  214-670-1236
                                                                  Fax: 214-670-0622
                                                                  Email: john.ligon@dallas.gov
                                                                  LEAD ATTORNEY
                                                                  ATTORNEY TO BE NOTICED
                                                                  Bar Status: Admitted/In Good Standing

Defendant
SGT Roger A. Rudloff                               represented by John Cheves Ligon
individually and in his official capacity as a                    (See above for address)
Dallas Police Department Police Officer                           LEAD ATTORNEY
                                                                  ATTORNEY TO BE NOTICED
                                                                  Bar Status: Admitted/In Good Standing

                                                                  Lindsay Erin Wilson Gowin
                                                                  Dallas City Attorney's Office
                                                                  1500 Marilla Street
                                                                  Room 7BN
                                                                  Dallas, TX 75201
                                                                  214-671-8225
                                                                  Fax: 214-670-0622
                                                                  Email: lindsay.gowin@dallas.gov
                                                                  ATTORNEY TO BE NOTICED
                                                                  Bar Status: Admitted/In Good Standing


 Date Filed           #        Docket Text

 05/23/2022         1 (p.11)

                                                                                                  24-10455.2
             Case: 24-10455        Document: 29          Page: 6      Date Filed: 09/04/2024

                          COMPLAINT WITH JURY DEMAND against Roger A. Rudloff, The City of
                          Dallas filed by Christopher Rusanowsky. (Filing fee $402; Receipt number
                          0539-12842972) Plaintiff will submit summons(es) for issuance. In each Notice of
                          Electronic Filing, the judge assignment is indicated, and a link to the Judges Copy
                          Requirements and Judge Specific Requirements is provided. The court reminds the
                          filer that any required copy of this and future documents must be delivered to the
                          judge, in the manner prescribed, within three business days of filing. Unless
                          exempted, attorneys who are not admitted to practice in the Northern District of
                          Texas must seek admission promptly. Forms, instructions, and exemption
                          information may be found at www.txnd.uscourts.gov, or by clicking here: Attorney
                          Information - Bar Membership. If admission requirements are not satisfied within 21
                          days, the clerk will notify the presiding judge. (Attachments: # 1 (p.11) Cover Sheet)
                          (Henderson, David) (Entered: 05/23/2022)

05/23/2022     2 (p.45)   CERTIFICATE OF INTERESTED PERSONS/DISCLOSURE STATEMENT by
                          Christopher Rusanowsky. (Clerk QC note: No affiliate entered in ECF). (Henderson,
                          David) (Entered: 05/23/2022)

05/23/2022     3 (p.47)   Request for Clerk to issue Summons filed by Christopher Rusanowsky. (Henderson,
                          David) (Entered: 05/23/2022)

05/23/2022     4 (p.49)   Request for Clerk to issue Summons filed by Christopher Rusanowsky. (Henderson,
                          David) (Entered: 05/23/2022)

05/23/2022     5 (p.51)   New Case Notes: A filing fee has been paid. Pursuant to Misc. Order 6, Plaintiff is
                          provided the Notice of Right to Consent to Proceed Before A U.S. Magistrate Judge
                          (Judge Horan). Clerk to provide copy to plaintiff if not received electronically. (ykp)
                          (Entered: 05/23/2022)

05/23/2022     6 (p.53)   Summons Issued as to Christopher Rusanowsky, The City of Dallas. (ykp) (Entered:
                          05/23/2022)

06/24/2022     7 (p.57)   Unopposed Motion for Extension of Time to File Answer filed by Roger A. Rudloff
                          with Brief/Memorandum in Support. Attorney John Cheves Ligon added to party
                          Roger A. Rudloff(pty:dft) (Ligon, John) (Entered: 06/24/2022)

06/24/2022           8    ELECTRONIC ORDER granting 7 (p.57) Unopposed Motion for Extension of Time
                          to File Responsive Pleadings. Roger A. Rudloff response due 7/13/2022. (Ordered
                          by Judge Ed Kinkeade on 6/24/2022) (chmb) (Entered: 06/24/2022)

06/27/2022     9 (p.62)   SUMMONS Returned Executed as to The City of Dallas, served on 6/27/2022 .
                          (Henderson, David) Modified event on 6/28/2022 (ygl). (Entered: 06/27/2022)

06/27/2022    10 (p.67)   SUMMONS Returned Executed as to Roger A. Rudloff, served on 6/8/2022.
                          (Henderson, David) (Entered: 06/27/2022)

06/29/2022    11 (p.68)   Unopposed MOTION to Substitute Attorney, added attorney Peter Blackmer
                          Steffensen,Peter Blackmer Steffensen for Christopher Rusanowsky. Motion filed by
                          Christopher Rusanowsky (Attachments: # 1 (p.11) Proposed Order)Attorney Peter
                          Blackmer Steffensen added to party Christopher Rusanowsky(pty:pla) (Steffensen,
                          Peter) (Entered: 06/29/2022)

06/29/2022          12    (Document Restricted) Attorney Contact Information (Sealed pursuant to SO 19-1,
                          statute, or rule) filed by Christopher Rusanowsky (Steffensen, Peter) (Entered:
                          06/29/2022)



                                                                                                       24-10455.3
             Case: 24-10455        Document: 29         Page: 7      Date Filed: 09/04/2024

06/29/2022          13    ELECTRONIC ORDER granting 11 (p.68) Unopposed Motion to Substitute
                          Counsel of Record. Michael W. Shapiro is withdrawn, and Peter B. Steffensen is
                          hereby substituted as Counsel of Record for Plaintiff Christopher Rusanowsky.
                          (Ordered by Judge Ed Kinkeade on 6/29/2022) (chmb) (Entered: 06/29/2022)

07/13/2022    14 (p.71)   ANSWER to 1 (p.11) Complaint with Jury Demand filed by Roger A. Rudloff.
                          Unless exempted, attorneys who are not admitted to practice in the Northern District
                          of Texas must seek admission promptly. Forms and Instructions found at
                          www.txnd.uscourts.gov, or by clicking here: Attorney Information - Bar
                          Membership. If admission requirements are not satisfied within 21 days, the clerk
                          will notify the presiding judge. (Ligon, John) (Entered: 07/13/2022)

07/18/2022    15 (p.87)   Motion to Dismiss for Failure to State a Claim filed by The City of Dallas with
                          Brief/Memorandum in Support. Attorney John Cheves Ligon added to party The
                          City of Dallas(pty:dft) (Ligon, John) (Entered: 07/18/2022)

07/19/2022           16 ORDER REQUIRING SCHEDULING CONFERENCE AND REPORT FOR
                (p.118) CONTENTS OF SCHEDULING ORDER. (Ordered by Judge Ed Kinkeade on
                        7/19/2022) (chmb) (Entered: 07/19/2022)

07/20/2022           17 CERTIFICATE OF INTERESTED PERSONS/DISCLOSURE STATEMENT by
                (p.124) Roger A. Rudloff, The City of Dallas. (Clerk QC note: No affiliate entered in ECF).
                        (Ligon, John) (Entered: 07/20/2022)

08/08/2022           18 RESPONSE filed by Christopher Rusanowsky re: 15 (p.87) Motion to Dismiss for
                (p.127) Failure to State a Claim (Attachments: # 1 (p.11) Proposed Order) (Henderson,
                        David) (Entered: 08/08/2022)

08/08/2022           19 Appendix in Support filed by Christopher Rusanowsky re 18 (p.127)
                (p.159) Response/Objection (Attachments: # 1 (p.11) Exhibit(s) 1, # 2 (p.45) Exhibit(s) 2)
                        (Henderson, David) (Entered: 08/08/2022)

08/16/2022           20 NOTICE of Attorney Appearance by Jozef Sebastian Van Coevorden on behalf of
                (p.249) Christopher Rusanowsky. (Filer confirms contact info in ECF is current.) (Van
                        Coevorden, Jozef) (Entered: 08/16/2022)

08/17/2022           21 Proposal for contents of scheduling and discovery order filed Jointly by Christopher
                (p.252) Rusanowsky. (Henderson, David) (Entered: 08/17/2022)

08/22/2022           22 REPLY with Brief in Support filed by The City of Dallas re: 15 (p.87) Motion to
                (p.260) Dismiss for Failure to State a Claim (Ligon, John) Modified docket text on
                        8/23/2022 (oyh). (Entered: 08/22/2022)

08/30/2022           23 ORDER - QUALIFIED IMMUNITY : Motions due by 12/22/2022. Discovery due
                (p.272) by 12/1/2022. There appears to be no further reason at this time to maintain the file
                        as open for statistical purposes. The Clerk is therefore instructed to submit a JS-6
                        form to the Administrative Office, thereby removing this case from the statistical
                        records.Nothing in this Order shall be considered a dismissal or disposition of this
                        case, and should further proceedings become necessary or desirable, any party or the
                        Court may initiate such further proceedings in the same manner as if this Order had
                        not been entered. Once the qualified immunity issue is resolved, the Court, if
                        needed, will re-open this case and send a Scheduling Conference Order to the parties
                        in order to put this case on a schedule and address the remaining issues in this case.
                        See FED. R. CIV. P. 16(b)(2). (Ordered by Judge Ed Kinkeade on 8/30/2022)
                        (chmb) (Entered: 08/31/2022)



                                                                                                    24-10455.4
             Case: 24-10455        Document: 29         Page: 8       Date Filed: 09/04/2024

08/31/2022                Civil Case Administratively Closed - See Order - Qualified Immunity. (chmb)
                          (Entered: 08/31/2022)

09/01/2022          24    (Document Restricted) Attorney Contact Information (Sealed pursuant to order dated
                          8/31/2022) filed by Roger A. Rudloff, The City of Dallas (Ligon, John) (Entered:
                          09/01/2022)

09/13/2022          25    (Document Restricted) Attorney Contact Information (Sealed pursuant to order dated
                          8/31/2022) filed by Christopher Rusanowsky (Van Coevorden, Jozef) (Entered:
                          09/13/2022)

09/29/2022           26 REPLY filed by Christopher Rusanowsky re: 14 (p.71) Answer to Complaint,
                (p.276) (Steffensen, Peter) (Entered: 09/29/2022)

10/31/2022           27 NOTICE of Intent to File Summary Judgment re: Terminated Case filed by Roger A.
                (p.289) Rudloff (Ligon, John) (Entered: 10/31/2022)

11/11/2022           28 Joint MOTION to Extend Time Deadline to File Motion for Leave to Conduct
                (p.292) Limited Discovery filed by The City of Dallas with Brief/Memorandum in Support.
                        (Ligon, John) (Entered: 11/11/2022)

11/11/2022          29    ELECTRONIC ORDER granting 28 (p.292) Joint MOTION to Extend Time
                          Deadline to File Motion for Leave to Conduct Limited Discovery. Motion for Leave
                          to Conduct Limited Discovery shall be filed by 11/21/2022. (Ordered by Judge Ed
                          Kinkeade on 11/11/2022) (chmb) (Entered: 11/11/2022)

11/21/2022           30 MOTION for Discovery filed by Christopher Rusanowsky (Attachments: # 1 (p.11)
                (p.296) Exhibit(s) Ex. 1 - RFPs to City of Dallas, # 2 (p.45) Exhibit(s) Ex. 2 - Interrogatories
                        to City of Dallas, # 3 (p.47) Exhibit(s) Ex. 3 - RFPs to Sgt. Roger A. Rudloff, # 4
                        (p.49) Exhibit(s) Ex. 4 - Interrogatories to Sgt. Roger A. Rudloff) (Steffensen, Peter)
                        (Entered: 11/21/2022)

12/12/2022           31 RESPONSE filed by Roger A. Rudloff, The City of Dallas re: 30 (p.296) MOTION
                (p.326) for Discovery (Ligon, John) (Entered: 12/12/2022)

12/15/2022          32    ELECTRONIC Order Referring 30 (p.296) MOTION for Discovery to Magistrate
                          Judge David L. Horan for hearing if necessary and determination. (Ordered by Judge
                          Ed Kinkeade on 12/15/2022) (chmb) (Entered: 12/15/2022)

12/16/2022           33 Unopposed MOTION to Extend Time of Qualified Immunity Summary Judgment
                (p.347) Deadline filed by Christopher Rusanowsky (Attachments: # 1 (p.11) Proposed
                        Order) (Steffensen, Peter) (Entered: 12/16/2022)

12/16/2022          34    ELECTRONIC ORDER - Before the Court is the Unopposed Motion to Modify
                          Qualified Immunity Summary Judgment Deadline (the "Motion"). Doc. No. 33. The
                          Court GRANTS the Motion. The deadline for the parties to file their motions for
                          summary judgment regarding Defendant Roger A. Rudloff's defense of qualified
                          immunity is hereby reset until thirty (30) days after Plaintiff receives the discovery
                          ordered as a result of his pending Motion for Leave to Conduct Limited Discovery
                          (the "Discovery Motion"), Doc. No. 30, or thirty (30) days after the Court denies
                          Plaintiff's Discovery Motion. (Ordered by Judge Ed Kinkeade on 12/16/2022)
                          (chmb) (Entered: 12/16/2022)

12/28/2022           35 STATUS REPORT ORDER: The parties meet andconfer in person or by
                (p.353) videoconference regarding the proposed discovery requests by January 27, 2023.
                        Joint Status Report due by 2/3/2023. (Ordered by Magistrate Judge David L. Horan


                                                                                                      24-10455.5
             Case: 24-10455        Document: 29         Page: 9      Date Filed: 09/04/2024

                         on 12/28/2022) (ndt) (Entered: 12/28/2022)

02/03/2023           36 Joint STATUS REPORT Regarding Discovery Requests filed by Christopher
                (p.359) Rusanowsky. (Van Coevorden, Jozef) (Entered: 02/03/2023)

02/09/2023           37 MEMORANDUM OPINION AND ORDER: The Court CONDITIONALLY
                (p.379) GRANTS IN PART AND DENIES IN PART Plaintiff Christopher Rusanowsky's
                        motion for discovery as supplemented [Dkt. Nos. 30 (p.296) & 35 (p.353) ].
                        Consistent with this order as to the scope of limited discovery that is narrowly
                        tailored to uncover only facts that the district court needs to rule on Defendant Roger
                        A. Rudloff's entitlement to qualified immunity, the parties are ORDERED to meet
                        and confer regarding specific discovery requests and file a second joint status report
                        by March 3, 2023. (Ordered by Magistrate Judge David L. Horan on 2/9/2023)
                        (mcrd) (Entered: 02/09/2023)

03/03/2023           38 Joint STATUS REPORT filed by Christopher Rusanowsky. (Steffensen, Peter)
                (p.396) (Entered: 03/03/2023)

03/07/2023           39 MEMORANDUM OPINION AND ORDER: The Court GRANTS IN PART AND
                (p.402) DENIES IN PART Plaintiff Christopher Rusanowsky's 30 (p.296) , 35 (p.353) , 38
                        (p.396) motion for discovery as supplemented and GRANTS Defendant Roger A.
                        Rudloff's construed 38 (p.396) motion for discovery for the reasons set out above
                        and in the February 9 Memorandum Opinion and Order. (Ordered by Magistrate
                        Judge David L. Horan on 3/7/2023) (sxf) (Entered: 03/07/2023)

03/30/2023           40 MEMORANDUM OPINION AND ORDER - The Court GRANTS in part and
                (p.407) DENIES in part Defendant's Motion to Dismiss. Doc. No. 15. The Court GRANTS
                        Plaintiff leave to file an amended complaint within thirty (30) days of this
                        Memorandum Opinion and Order. Should Plaintiff fail to timely amend, Plaintiff's
                        failure to train claim against the City will be dismissed with prejudice and without
                        further notice. (Ordered by Judge Ed Kinkeade on 3/30/2023) (chmb) (Entered:
                        03/30/2023)

04/05/2023           41 NOTICE of Attorney Appearance by Thomas S Leatherbury on behalf of
                (p.426) Christopher Rusanowsky. (Filer confirms contact info in ECF is current.)
                        (Leatherbury, Thomas) (Entered: 04/05/2023)

04/06/2023           42 NOTICE of Discovery Response filed by Christopher Rusanowsky (Steffensen,
                (p.427) Peter) (Entered: 04/06/2023)

04/06/2023           43 NOTICE of Discovery Compliance re: 39 (p.402) Memorandum Opinion and Order,
                (p.429) filed by Roger A. Rudloff (Ligon, John) (Entered: 04/06/2023)

04/12/2023           44 Unopposed Motion for Extension of Time to File Answer or Responsive Pleadings
                (p.431) filed by Roger A. Rudloff, The City of Dallas with Brief/Memorandum in Support.
                        (Ligon, John) (Entered: 04/12/2023)

04/12/2023          45   ELECTRONIC ORDER - Before the Court is Defendants' Unopposed Motion for
                         Extension of Time to File Responsive Pleadings (the "Motion"). Doc. No. 44. The
                         Court GRANTS the Motion. Defendant the City of Dallas' responsive pleading shall
                         be due fourteen (14) days after Plaintiff files his amended pleading or fourteen (14)
                         days after April 30, 2023, whichever is sooner. (Ordered by Judge Ed Kinkeade on
                         4/12/2023) (chmb) (Entered: 04/12/2023)

05/08/2023           46 MOTION for Partial Summary Judgment filed by Christopher Rusanowsky with
                (p.435) Brief/Memorandum in Support. (Attachments: # 1 (p.11) Proposed Order)


                                                                                                    24-10455.6
             Case: 24-10455        Document: 29         Page: 10       Date Filed: 09/04/2024

                          (Steffensen, Peter) (Entered: 05/08/2023)

05/08/2023           47 Appendix in Support filed by Christopher Rusanowsky re 46 (p.435) MOTION for
                (p.469) Partial Summary Judgment (Attachments: # 1 (p.11) Exhibit(s) Pages 1-31, # 2
                        (p.45) Exhibit(s) Pages 32-57, # 3 (p.47) Exhibit(s) Pages 58-73, # 4 (p.49)
                        Exhibit(s) Pages 74-110, # 5 (p.51) Exhibit(s) Pages 111-135, # 6 (p.53) Exhibit(s)
                        Pages 136-145, # 7 (p.57) Exhibit(s) Pages 146-161) (Steffensen, Peter) (Entered:
                        05/08/2023)

05/08/2023           48 ORDER: On March 30, 2023, the Court issued its Memorandum Opinion and Order
                (p.632) (the "Order"), Doc. No. 40, granting in part and denying in part Defendant City of
                        Dallas's Motion to Dismiss Plaintiff's Complaint, and Brief in Support, Doc. No. 15.
                        There, the Court dismissed Plaintiff's failure to train claim against the City of Dallas
                        but granted Plaintiff leave to amend his Complaint within thirty (30) days. Doc. No.
                        40 at 16, 18-19 ("Should Plaintiff fail to timely amend, Plaintiffs failure to train
                        claim against the City will be dismissed with prejudice and without further notice.").
                        Today is May 8, 2023, and Plaintiff has not so amended. Therefore, the Court
                        DISMISSES Plaintiff's failure to train claim with prejudice. (Ordered by Judge Ed
                        Kinkeade on 5/8/2023) (chmb) (Entered: 05/08/2023)

05/08/2023           49 MOTION for Summary Judgment based on Qualified Immunity filed by Roger A.
                (p.633) Rudloff (Ligon, John) (Entered: 05/08/2023)

05/08/2023           50 Brief/Memorandum in Support filed by Roger A. Rudloff re 49 (p.633) MOTION
                (p.636) for Summary Judgment based on Qualified Immunity (Ligon, John) (Entered:
                        05/08/2023)

05/08/2023           51 Appendix in Support filed by Roger A. Rudloff re 49 (p.633) MOTION for
                (p.678) Summary Judgment based on Qualified Immunity (Attachments: # 1 (p.11)
                        Exhibit(s) Appendix) (Ligon, John) (Entered: 05/08/2023)

05/08/2023           52 Notice of Manual Filing of Appendix by Roger A. Rudloff re 49 (p.633) MOTION
                (p.709) for Summary Judgment based on Qualified Immunity (Ligon, John) (Entered:
                        05/08/2023)

05/15/2023           53 ANSWER to 1 (p.11) Complaint with Jury Demand filed by The City of Dallas.
                (p.711) Unless exempted, attorneys who are not admitted to practice in the Northern District
                        of Texas must seek admission promptly. Forms and Instructions found at
                        www.txnd.uscourts.gov, or by clicking here: Attorney Information - Bar
                        Membership. If admission requirements are not satisfied within 21 days, the clerk
                        will notify the presiding judge. (Ligon, John) Modified text on 5/16/2023 (mms).
                        (Entered: 05/15/2023)

05/16/2023           54 Joint MOTION for Extension of Time to File Response/Reply to 46 (p.435)
                (p.725) MOTION for Partial Summary Judgment , 49 (p.633) MOTION for Summary
                        Judgment based on Qualified Immunity filed by Christopher Rusanowsky
                        (Attachments: # 1 (p.11) Proposed Order) (Steffensen, Peter) Modified text on
                        5/17/2023 (mms). (Entered: 05/16/2023)

05/17/2023          55    ELECTRONIC ORDER - Before the Court is the Joint Motion for Extension of
                          Time to Respond (the "Motion"). Doc. No. 54. The Court GRANTS the Motion. The
                          deadline for the parties to file their responses is hereby extended to June 5, 2023.
                          (Ordered by Judge Ed Kinkeade on 5/17/2023) (chmb) (Entered: 05/17/2023)

06/05/2023           56 RESPONSE filed by Christopher Rusanowsky re: 49 (p.633) MOTION for
                (p.730) Summary Judgment based on Qualified Immunity (Steffensen, Peter) (Entered:

                                                                                                      24-10455.7
             Case: 24-10455      Document: 29        Page: 11      Date Filed: 09/04/2024

                         06/05/2023)

06/05/2023           57 Appendix in Support filed by Christopher Rusanowsky re 56 (p.730)
                (p.783) Response/Objection (Attachments: # 1 (p.11) Appendix to Plaintiff's Response)
                        (Steffensen, Peter) (Entered: 06/05/2023)

06/05/2023           58 RESPONSE filed by Roger A. Rudloff re: 46 (p.435) MOTION for Partial Summary
                (p.789) Judgment (Ligon, John) (Entered: 06/05/2023)

06/12/2023           59 MOTION for Extension of Time to File Reply re: 46 (p.435) , 49 (p.633) Motions
                (p.833) for Summary Judgment. (Ligon, John) Modified on 6/13/2023 (acm). (Entered:
                        06/12/2023)

06/12/2023          60   ELECTRONIC ORDER - Before the Court is the Joint Motion for Extension of
                         Time to File Replies to Motions for Summary Judgment (the "Motion"). Doc. No.
                         59. The Court GRANTS the Motion. The parties' reply deadlines are hereby
                         extended to June 30, 2023. (Ordered by Judge Ed Kinkeade on 6/12/2023) (chmb)
                         (Entered: 06/12/2023)

06/30/2023           61 REPLY filed by Christopher Rusanowsky re: 46 (p.435) MOTION for Partial
                (p.836) Summary Judgment (Steffensen, Peter) (Entered: 06/30/2023)

06/30/2023           62 REPLY filed by Roger A. Rudloff re: 49 (p.633) MOTION for Summary Judgment
                (p.860) based on Qualified Immunity (Ligon, John) (Entered: 06/30/2023)

06/30/2023           63 MOTION to Strike 46 (p.435) MOTION for Partial Summary Judgment
                (p.892) Declarations filed by Roger A. Rudloff with Brief/Memorandum in Support. (Ligon,
                        John) (Entered: 06/30/2023)

07/21/2023           64 RESPONSE filed by Christopher Rusanowsky re: 63 (p.892) MOTION to Strike 46
                (p.897) (p.435) MOTION for Partial Summary Judgment Declarations (Steffensen, Peter)
                        (Entered: 07/21/2023)

08/01/2023           65 REPLY filed by Roger A. Rudloff re: 63 (p.892) MOTION to Strike 46 (p.435)
                (p.905) MOTION for Partial Summary Judgment Declarations (Ligon, John) (Entered:
                        08/01/2023)

08/16/2023           66 MOTION for Leave to File Cured Declarations filed by Christopher Rusanowsky
                (p.914) with Brief/Memorandum in Support. (Attachments: # 1 (p.11) Exhibit(s)
                        Rusanowsky Declaration, # 2 (p.45) Exhibit(s) Seipp Declaration, # 3 (p.47)
                        Exhibit(s) Rusanowsky Supp. Declaration, # 4 (p.49) Proposed Order) (Steffensen,
                        Peter) (Entered: 08/16/2023)

09/05/2023           67 RESPONSE filed by Roger A. Rudloff re: 66 (p.914) MOTION for Leave to File
               (p.1056) Cured Declarations (Ligon, John) (Entered: 09/05/2023)

09/19/2023           68 REPLY filed by Christopher Rusanowsky re: 66 (p.914) MOTION for Leave to File
               (p.1064) Cured Declarations (Steffensen, Peter) (Entered: 09/19/2023)

03/04/2024           69 MEMORANDUM OPINION AND ORDER - Before the Court are Plaintiff
               (p.1071) Christopher Rusanowsky's Motion for Partial Sum-mary Judgment ("Mr.
                        Rusanowsky's Motion for Summary Judgment") and Appendix in support thereof,
                        Doc. Nos. 4647, Defendant Sgt. Roger A. Rudloff's Response to Plaintiff's Motion
                        for Partial Summary Judgment, Doc. No. 58, Mr. Rusanowsky's Reply in Support of
                        His Motion for Partial Summary Judgment, Doc. No. 61, Sgt. Rudloff's Motion for
                        Summary Judgment Based on Qualified Immunity ("Sgt. Rudloff's Motion for
                        Summary Judgment") and Brief and Appendix in support thereof, Doc. Nos. 4951,

                                                                                                24-10455.8
             Case: 24-10455       Document: 29        Page: 12       Date Filed: 09/04/2024

                         Mr. Rusanowsky's Response in Opposition to Defendant Roger A. Rudloff's Motion
                         for Summary Judgment and Appendix in support thereof, Doc. No. 5657, Sgt.
                         Rudloff's Reply Brief in Support of His Motion for Summary Judgment Based on
                         Qualified Immunity, Doc. No. 62, Sgt. Rudloff's Motion to Strike Plaintiff's
                         Summary Judgment Evidence (the "Motion to Strike"), Doc. No. 63, Mr.
                         Rusanowsky's Response to Defendant's Motion to Strike Plaintiffs Summary
                         Judgment Evidence, Doc. No. 64, Sgt. Rudloff's Reply in Support of His Motion to
                         Strike Plaintiff's Summary Judgment Evidence, Doc. No. 65, Mr. Rusanowsky's
                         Opposed Motion for Leave to File Cured Declarations (the Motion for Leave), Doc.
                         No. 66, Sgt. Rudloffs Response to Plaintiffs Opposed Motion for Leave to File
                         Cured Declarations, Doc. No. 67, and Mr. Rusanowsky's Reply in Support of His
                         Opposed Motion for Leave to File Cured Declarations. Doc. No. 68.The Court
                         GRANTS Mr. Rusanowsky's Motion for Leave to file amended declarations in
                         support of his motion for partial summary judgment. The proposed amendments
                         simply conform the declarants' attestations of their testimonys truth to the statutory
                         model provided in 28 U.S.C. § 1746(2). Doc. No. 66 at 3; see Hibernia Nat'l Bank v.
                         Administracion Cent. Sociedad Anonima, 776 F.2d 1277, 1281 (5th Cir. 1985); BHL
                         Boresight, Inc. v. Geo-Steering Sols., Inc., 2017 WL 3634215, at *4 (S.D. Tex. Aug.
                         24, 2017). The Court correspondingly DENIES as moot Sgt. Rudloff's Motion to
                         Strike the unamended declarations based on the form of the attestations. The City
                         MAY FILE a motion for summary judgment no later than twenty-one days after the
                         entry of this order. The City shall confine its arguments in support of any such
                         motion to ones that depend on the dismissal of the claims against Sgt. Rudloff and
                         shall not otherwise raise arguments it could have but chose not to assert by earlier
                         summary judgment motion. The Court will defer reopening this case in view of the
                         possibility of a further summary judgment motion. (Ordered by Judge Ed Kinkeade
                         on 3/4/2024) (chmb) (Entered: 03/04/2024)

03/25/2024           70 MOTION for Summary Judgment filed by The City of Dallas (Ligon, John)
               (p.1093) (Entered: 03/25/2024)

03/25/2024           71 Brief/Memorandum in Support filed by The City of Dallas re 70 (p.1093) MOTION
               (p.1096) for Summary Judgment (Ligon, John) (Entered: 03/25/2024)

04/15/2024           72 RESPONSE filed by Christopher Rusanowsky re: 70 (p.1093) MOTION for
               (p.1105) Summary Judgment (Steffensen, Peter) (Entered: 04/15/2024)

04/15/2024           73 Brief/Memorandum in Support filed by Christopher Rusanowsky re 72 (p.1105)
               (p.1107) Response/Objection to City of Dallas Motion for Summary Judgment (Steffensen,
                        Peter) (Entered: 04/15/2024)

04/18/2024           74 ORDER granting 70 (p.1093) Motion for Summary Judgment. (Ordered by Judge Ed
               (p.1114) Kinkeade on 4/18/2024) (chmb) (Entered: 04/18/2024)

04/18/2024           75 JUDGMENT - By orders dated May 8, 2023, March 4, 2024, and April 18, 2024, the
               (p.1116) Court dismissed all of Plaintiff Christopher Rusanowsky's claims against Defendants
                        City of Dallas and Sgt. Roger A. Rudloff with prejudice. Accordingly, the Court
                        hereby ORDERS, ADJUDGES, and DECREES that Mr. Rusanowsky's claims are
                        DISMISSED with prejudice in their entirety. Defendants may file a bill of costs in
                        accordance with Local Civil Rule 54.1. Each party will bear its own fees. (Ordered
                        by Judge Ed Kinkeade on 4/18/2024) (chmb) (Entered: 04/18/2024)

05/17/2024           76 NOTICE OF APPEAL as to 75 (p.1116) Judgment to the Fifth Circuit by
               (p.1117) Christopher Rusanowsky. Filing fee $605, receipt number ATXNDC-14628695.
                        T.O. form to appellant electronically at Transcript Order Form or US Mail as

                                                                                                    24-10455.9
             Case: 24-10455     Document: 29          Page: 13        Date Filed: 09/04/2024

                       appropriate. Copy of NOA to be sent US Mail to parties not electronically noticed.
                       IMPORTANT ACTION REQUIRED: Provide an electronic copy of any exhibit you
                       offered during a hearing or trial that was admitted into evidence to the clerk of the
                       district court within 14 days of the date of this notice. Copies must be transmitted as
                       PDF attachments through ECF by all ECF Users or delivered to the clerk on a CD by
                       all non-ECF Users. See detailed instructions here. (Exception: This requirement does
                       not apply to a pro se prisoner litigant.) Please note that if original exhibits are in your
                       possession, you must maintain them through final disposition of the case.
                       (Steffensen, Peter) (Entered: 05/17/2024)

06/06/2024             USCA Case Number 24-10455 in USCA5 for 76 (p.1117) Notice of Appeal filed by
                       Christopher Rusanowsky. (axm) (Entered: 06/06/2024)




                                                                                                      24-10455.10
Case: 24-10455   Document: 29   Page: 14   Date Filed: 09/04/2024




                 Tab 2
Case: 24-10455   Document: 29   Page: 15   Date Filed: 09/04/2024
Case: 24-10455   Document: 29   Page: 16   Date Filed: 09/04/2024
Case: 24-10455   Document: 29   Page: 17   Date Filed: 09/04/2024




                 Tab 3
        Case: 24-10455       Document: 29         Page: 18    Date Filed: 09/04/2024




                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

CHRISTOPHER RUSANOWSKY,                       §
                                              §
       Plaintiff,                             §
                                              §
v.                                            §              Civil No. 3:22-CV-01132-K
                                              §
THE CITY OF DALLAS and SGT.                   §
ROGER A. RUDLOFF, individually and            §
in his official capacity as a Dallas Police   §
Department Officer,                           §
                                              §
       Defendants.                            §

                                  FINAL JUDGMENT

       By orders dated May 8, 2023, March 4, 2024, and April 18, 2024, the Court

dismissed all of Plaintiff Christopher Rusanowsky’s claims against Defendants City of

Dallas and Sgt. Roger A. Rudloff with prejudice.

       Accordingly, the Court hereby ORDERS, ADJUDGES, and DECREES that

Mr. Rusanowsky’s claims are DISMISSED with prejudice in their entirety. Defend-

ants may file a bill of costs in accordance with Local Civil Rule 54.1. Each party will

bear its own fees.

       SO ORDERED.

       Signed April 18th, 2024.




                                                    ____________________________________
                                                    ED KINKEADE
                                                    UNITED STATES DISTRICT JUDGE


                                              1
Case: 24-10455   Document: 29   Page: 19   Date Filed: 09/04/2024




                 Tab 4
        Case: 24-10455       Document: 29         Page: 20    Date Filed: 09/04/2024




                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

CHRISTOPHER RUSANOWSKY,                       §
                                              §
       Plaintiff,                             §
                                              §
v.                                            §              Civil No. 3:22-CV-01132-K
                                              §
THE CITY OF DALLAS and SGT.                   §
ROGER A. RUDLOFF, individually and            §
in his official capacity as a Dallas Police   §
Department Officer,                           §
                                              §
       Defendants.                            §

                     MEMORANDUM OPINION AND ORDER

       Before the Court are Plaintiff Christopher Rusanowsky’s Motion for Partial

Summary Judgment (“Mr. Rusanowsky’s Motion for Summary Judgment”) and Ap-

pendix in support thereof, Doc. Nos. 46–47, Defendant Sgt. Roger A. Rudloff’s Re-

sponse to Plaintiff’s Motion for Partial Summary Judgment, Doc. No. 58,

Mr. Rusanowsky’s Reply in Support of His Motion for Partial Summary Judgment,

Doc. No. 61, Sgt. Rudloff’s Motion for Summary Judgment Based on Qualified Im-

munity (“Sgt. Rudloff’s Motion for Summary Judgment”) and Brief and Appendix in

support thereof, Doc. Nos. 49–51, Mr. Rusanowsky’s Response in Opposition to De-

fendant Roger A. Rudloff’s Motion for Summary Judgment and Appendix in support

thereof, Doc. No. 56–57, Sgt. Rudloff’s Reply Brief in Support of His Motion for Sum-

mary Judgment Based on Qualified Immunity, Doc. No. 62, Sgt. Rudloff’s Motion to

Strike Plaintiff’s Summary Judgment Evidence (the “Motion to Strike”), Doc. No. 63,


                                              1
          Case: 24-10455    Document: 29       Page: 21   Date Filed: 09/04/2024




Mr. Rusanowsky’s Response to Defendant’s Motion to Strike Plaintiff’s Summary

Judgment Evidence, Doc. No. 64, Sgt. Rudloff’s Reply in Support of His Motion to

Strike Plaintiff’s Summary Judgment Evidence, Doc. No. 65, Mr. Rusanowsky’s Op-

posed Motion for Leave to File Cured Declarations (the “Motion for Leave”), Doc.

No. 66, Sgt. Rudloff’s Response to Plaintiff’s Opposed Motion for Leave to File Cured

Declarations, Doc. No. 67, and Mr. Rusanowsky’s Reply in Support of His Opposed

Motion for Leave to File Cured Declarations. Doc. No. 68.

         The Court GRANTS Mr. Rusanowsky’s Motion for Leave to file amended dec-

larations in support of his motion for partial summary judgment. The proposed amend-

ments simply conform the declarants’ attestations of their testimony’s truth to the stat-

utory model provided in 28 U.S.C. § 1746(2). Doc. No. 66 at 3; see Hibernia Nat’l

Bank v. Administracion Cent. Sociedad Anonima, 776 F.2d 1277, 1281 (5th Cir. 1985);

BHL Boresight, Inc. v. Geo-Steering Sols., Inc., 2017 WL 3634215, at *4 (S.D. Tex.

Aug. 24, 2017). The Court correspondingly DENIES as moot Sgt. Rudloff’s Motion

to Strike the unamended declarations based on the form of the attestations.

         Upon consideration of the submissions properly before it, the Court GRANTS

Sgt. Rudloff’s Motion for Summary Judgment. Mr. Rusanowsky is a professional free-

lance photographer who documented protests in Dallas following the death of George

Floyd.     While Mr. Rusanowsky was photographing protesters on Interstate 35,

Sgt. Rudloff and his fellow police officers attempted to clear them from the highway.

As he was doing so, Sgt. Rudloff noticed Mr. Rusanowsky, who was admittedly walking



                                           2
        Case: 24-10455      Document: 29       Page: 22   Date Filed: 09/04/2024




the wrong way down the shoulder of the interstate. After Sgt. Rudloff, the other police

officers, several protesters, and Mr. Rusanowsky all reached a grassy area off the inter-

state, Sgt. Rudloff and the officers arrested Mr. Rusanowsky and the protesters.

Mr. Rusanowsky alleges that Sgt. Rudloff arrested him because he was photographing

the protesters’ arrests and contends that his arrest violated his constitutional rights.

He asserts claims for arrest without probable cause (“false” arrest) and malicious pros-

ecution in violation of the Fourth Amendment and retaliatory arrest in violation of the

First Amendment. Sgt. Rudloff enjoys qualified immunity from all three claims because

his conduct did not violate clearly established law. Since Sgt. Rudloff arguably had

probable cause to arrest Mr. Rusanowsky, Mr. Rusanowsky’s false and retaliatory arrest

claims cannot succeed. Mr. Rusanowsky’s stroll the wrong way down the interstate

was a misdemeanor under Texas law unless it was impossible for him to avoid walking

as he did. Sgt. Rudloff might well have believed that Mr. Rusanowsky could have

crossed the interstate, then blocked by protesters, to walk the correct way, and

Sgt. Rudloff could reasonably have concluded and that Mr. Rusanowsky’s decision not

to do so justified his arrest. Qualified immunity likewise protects Sgt. Rudloff from

Mr. Rusanowsky’s claim for malicious prosecution. Sgt. Rudloff could reasonably rely

on legal authorities refusing to recognize such a claim at the time of the parties’ en-

counter. Having found that Sgt. Rudloff is immune from Mr. Rusanowsky’s claims,

the Court DENIES Mr. Rusanowsky’s Motion for Summary Judgment because

Mr. Rusanowsky asks the Court to find qualified immunity lacking.



                                           3
        Case: 24-10455      Document: 29        Page: 23   Date Filed: 09/04/2024




 I.   BACKGROUND

      Christopher Rusanowsky is a professional freelance photographer specializing in

documentary photography.       Doc. No. 66-1 ¶¶ 2–3.        At the end of May 2020,

Mr. Rusanowsky decided to photograph protests in Dallas inspired by the death of

George Floyd. Id. ¶ 6. He followed a crowd of protesters as they transited Reunion

Boulevard East toward Interstate 35 East. Id. ¶ 17. The crowd approached an incline

leading up and onto the interstate, and some of the protesters climbed it.             Id.

Mr. Rusanowsky trailed them until he reached a barrier separating the incline from the

interstate where he paused to photograph protesters milling about the interstate singly

and in groups. Id. ¶ 20; id. at 18–24.

      More people continued to arrive at the barrier, and Mr. Rusanowsky says he

became concerned that he did not have an exit from the crowd “if anything were to

happen.” Id. 66-1 ¶ 21. According to Mr. Rusanowsky, maintaining an exit route is

standard journalistic practice. Id. ¶¶ 21–22. He scaled the barrier, stepped onto the

shoulder of the interstate, and began walking along the barrier with the flow of traffic.

Id. ¶¶ 22–23.

      His path would soon intersect with Sgt. Roger A. Rudloff’s. That evening,

Sgt. Rudloff and a team of fellow members of the Dallas Police Department (“DPD”)

had learned that people on Interstate 35 had blocked part of the roadway. Doc.

No. 51-1 at 1, 4, 7. Sgt. Rudloff and his team traveled to the interstate to clear it. Id.




                                            4
       Case: 24-10455      Document: 29        Page: 24   Date Filed: 09/04/2024




Once they reached their destination, Sgt. Rudloff and two DPD corporals saw

Mr. Rusanowsky on the highway. Id.

      The DPD team began trying to clear the road, and Sgt. Rudloff recalls that some-

one told the people on the interstate to disperse without success, although no other

witness recalls hearing a dispersal order. Id. at 1. Some people started throwing rocks

and bottles at the team and shouted at them, but the extent of this activity is unclear.

Id. Mr. Rusanowsky did not observe it, and he describes the scene as “largely orderly.”

Doc. No. 66-3 ¶¶ 8–12. At some point, Sgt. Rudloff radioed a superior to ask “what

[to] do with the people on the freeway,” and the superior told him, roughly, “We need

to round those folks up.” Doc. No. 51-1 at 1.

      Before any arrest documented in the record, the crowd on the interstate finally

started to move in earnest. According to Mr. Rusanowsky and a journalist acquaint-

ance, the crowd broke up when it heard a loud noise that Mr. Rusanowsky compares

to gunfire. Doc. No. 66-1 ¶ 25; Doc. No. 66-2 ¶ 9. Some protesters began “fleeing”

the noise. Doc. No. 66-2 ¶ 9. Some departed the interstate but attempted to return

to it. Doc. No. 51-1 at 7. Mr. Rusanowsky left the shoulder of the interstate by climb-

ing back over its barrier, and he hid behind a nearby pillar to avoid the crowd. Doc.

No. 66-1 ¶ 25. After emerging from behind the pillar, Mr. Rusanowsky spotted pro-

testers trying to assist a woman who had fallen. Id. ¶ 26. He began photographing

them and followed them to a grassy area away from the interstate. Id. ¶¶ 26–27.




                                           5
        Case: 24-10455      Document: 29       Page: 25   Date Filed: 09/04/2024




      There he encountered Sgt. Rudloff and his team, who apparently arrived from

another direction and sprang into action. Id. ¶¶ 27–31, 39–40; Doc. No. 51-1 at 4.

Sgt. Rudloff arrested one of the protesters who had assisted the fallen woman. Doc.

No. 66-1 ¶ 33. He shot another protester with non-lethal PepperBall rounds when he

believed she adopted a “fighting stance” while approaching him. Id. ¶ 35; Doc. No. 51-

1 at 2. He also helped a fellow officer arrest a third protester by kneeing the protester

in the stomach when he failed to comply with orders. Doc. No. 66-1 ¶¶ 37–38; Doc.

No. 51-1 at 2. Mr. Rusanowsky photographed all of the arrests from a distance of

about ten feet. Doc. No. 66-1 ¶ 41.

      Although the parties do not agree about the precise sequence of events, it is

undisputed that Sgt. Rudloff subsequently had an exchange with Mr. Rusanowsky and

that a DPD corporal handcuffed Mr. Rusanowsky. Id. ¶¶ 44–48; Doc. No. 51-1 at 2.

Between the beginning of the exchange and the arrival of an escort to take Mr.

Rusanowsky to jail, Mr. Rusanowsky informed Sgt. Rudloff that he was a photojour-

nalist. Doc. No. 66-1 ¶ 45; Doc. No. 51-1 at 2. He also wore press badges that were

visible to Sgt. Rudloff. Doc. No. 66-2 ¶ 15; Doc. No. 66-1 ¶ 45. After learning that

Mr. Rusanowsky was a member of the press, Sgt. Rudloff retorted, “Yeah yeah, press

press. You are going to jail.” Doc. No. 66-1 ¶ 46. He added that Mr. Rusanowsky

“still had no right to be illegally on the freeway.” Doc. No. 51-1 at 2.

      Two photojournalists observed the interaction between Mr. Rusanowsky and

Sgt. Rudloff, one of whom captured photographs showing Sgt. Rudloff pointing at



                                           6
        Case: 24-10455      Document: 29        Page: 26   Date Filed: 09/04/2024




something off camera while standing close to Mr. Rusanowsky and then grabbing

Mr. Rusanowsky’s shirt and forcibly pulling it. Doc. No. 61 ¶ 47; Doc. No. 66-2 ¶¶ 8–

17; Doc. No. 66-2 at 40–44. Sgt. Rudloff threatened to arrest both photojournalists,

and they departed the scene in response. Doc. No. 66-2 ¶ 17. Other observers included

protesters throwing objects at the DPD officers. Doc. No. 51-1. It is unclear whether

the officers arrested or threatened to arrest these protesters.

      Mr. Rusanowsky spent twenty-six hours in jail after his arrest. Doc. No. 66-1

¶ 26. In an incident report, DPD officers accused him of riot participation, and in an

affidavit for an arrest warrant, they accused him of obstructing a highway.         Doc.

No. 47-4 at 30–32; Doc. No. 51-1 at 13. Sgt. Rudloff did not contribute to either

document, and the State of Texas declined to charge Mr. Rusanowsky. See Doc.

No. 51-1 at 2; Doc. No. 47-4 at 21. Mr. Rusanowsky says that his arrest and incarcer-

ation exposed him to COVID-19 in a crowded jail and prevented him from obtaining

the highest possible royalties from his photographs of the protests by delaying their

circulation. Doc. No. 66-1 ¶ 55. He also says that the arrest has negatively affected

his mental health and discouraged him from accepting assignments requiring him to

photograph events featuring a substantial police presence. Id. ¶¶ 55–61.

      Mr. Rusanowsky sued Sgt. Rudloff under 28 U.S.C. § 1983, alleging that

Sgt. Rudloff violated his Fourth and First Amendment rights. Doc. No. 1. He brings

two variations of his Fourth Amendment claim. One variation is a claim for “false”

arrest without probable cause, and one is a claim for malicious prosecution of the



                                            7
        Case: 24-10455      Document: 29        Page: 27   Date Filed: 09/04/2024




charges against him that the State of Texas declined to pursue. Id. ¶¶ 96–10. The First

Amendment claim is that Sgt. Rudloff arrested him because he photographed Sgt. Rud-

loff’s interactions with protesters. Id. ¶¶ 86–95. Mr. Rusanowsky also sued the City

of Dallas and asserted Fourth and First Amendment claims against it that are not cur-

rently at issue. Id. ¶¶ 111–17.

      Sgt. Rudloff moved for summary judgment on all claims against him on the basis

that he enjoys qualified immunity from suit, Doc. No. 49, and Mr. Rusanowsky moved

for partial summary judgment denying Sgt. Rudloff qualified immunity. Doc. No. 46.

II.   LEGAL STANDARD

      The Court grants motions for summary judgment when there is no genuine dis-

pute between the parties about any material fact and the movant is entitled to judg-

ment as a matter of law. Fed. R. Civ. P. 56(a). A genuine dispute of material fact exists

if a reasonable jury could resolve the parties’ factual disagreement in favor of either

party and the resolution could affect the outcome of the suit they are litigating. Ander-

son v. Liberty Lobby, Inc., 477 U.S. 242, 249–50 (1986).

      As a public official sued in his individual capacity for taking discretionary action,

Sgt. Rudloff enjoys qualified immunity from civil damages unless he violated clearly

established law of which he reasonably should have known. Kinney v. Weaver, 367 F.3d

337, 349 (5th Cir. 2004) (en banc). Mr. Rusanowsky has the burden to point out the

clearly established law Sgt. Rudloff purportedly violated and to show that there is at

least a genuine dispute of material fact about whether the violation occurred. Kokesh v.



                                            8
           Case: 24-10455     Document: 29       Page: 28   Date Filed: 09/04/2024




Curlee, 14 F.4th 382, 392 (5th Cir. 2021). In assessing whether Mr. Rusanowsky has

carried that burden, the Court views the facts in the light most favorable to him. Melton

v. Phillips, 875 F.3d 256, 261 (5th Cir. 2017) (en banc).

III.      DISCUSSION

          The Court grants Sgt. Rudloff summary judgment on Mr. Rusanowsky’s false

arrest, retaliatory arrest, and malicious prosecution claims. The primary obstacle to

the first two claims is that each stems from Mr. Rusanowsky’s arrest near Interstate 35,

and Sgt. Rudloff had reason to believe there was probable cause to make the arrest.

The Court first discusses why Mr. Rusanowsky’s false arrest claim cannot surmount

this obstacle and then explains why his retaliatory arrest claim cannot either. The

Court concludes its discussion with a review of Mr. Rusanowsky’s remaining claim for

malicious prosecution and finds that Sgt. Rudloff is immune from the claim because it

was not cognizable at the time of the arrest.

          Throughout its discussion, the Court will assume that Sgt. Rudloff arrested

Mr. Rusanowsky. Although Sgt. Rudloff denies responsibility for the arrest because his

superior ordered him to “round . . . up” people on Interstate 35 and another officer

handcuffed Mr. Rusanowsky, the Court’s decision does not turn on the nature of

Sgt. Rudloff’s involvement in the arrest. Doc. No. 58 at 41–42.

       A. False Arrest

          The existence of facts arguably showing that Sgt. Rudloff had probable cause to

arrest Mr. Rusanowsky makes Sgt. Rudloff qualifiedly immune from Mr. Rusanowsky’s




                                             9
       Case: 24-10455      Document: 29     Page: 29     Date Filed: 09/04/2024




false arrest claim. A warrantless false arrest violates the Fourth Amendment’s prohibi-

tion on unreasonable seizures because an arrest without a warrant or probable cause is

unreasonable. See Club Retro LLC v. Hilton, 568 F.3d 181, 204 (5th Cir. 2009); Loftin

v. City of Prentiss, 33 F.4th 774, 780 (5th Cir. 2022). If a reasonable person could

conclude from the facts known to the arresting officer that the arrested person had

committed or was committing an offense, probable cause exists, and the infirmity in

the arrest disappears. Loftin, 33 F.4th at 780. Since Sgt. Rudloff reasonably could have

believed he had probable cause to arrest Mr. Rusanowsky for walking the wrong way

down Interstate 35, he did not violate Mr. Rusanowsky’s clearly established Fourth

Amendment rights by arresting him. Voss v. Goode, 954 F.3d 234, 239 (5th Cir. 2020).

      Sgt. Rudloff observed Mr. Rusanowsky on the interstate while Mr. Rusanowsky

was walking on its rightmost shoulder with the flow of traffic. Doc. No. 51-1 at 1; Doc.

No. 66-1 at 4, 18–26. At the time of Mr. Rusanowsky’s arrest, Section 552.006(b) of

the Texas Transportation Code directed a “pedestrian walking along and on a highway”

without a sidewalk to walk, “if possible,” on “the left side of the roadway”—meaning

the leftmost portion of the highway other than the shoulder—or “the shoulder of the

highway facing oncoming traffic.” Tex. Transp. Code §§ 541.302(11), 552.006(b).

The Code defined a highway to include its shoulder. Id. §§ 541.302(5)–(6), (15).

      Under the Code’s directive, Mr. Rusanowsky was walking the wrong way on the

interstate. While Mr. Rusanowsky expresses surprise that Sgt. Rudloff observed his

misconduct, Sgt. Rudloff explicitly testifies that he saw Mr. Rusanowsky on the



                                          10
        Case: 24-10455      Document: 29     Page: 30    Date Filed: 09/04/2024




interstate, and Mr. Rusanowsky confirms that as “soon as [he] stepped onto the shoul-

der, [he] walked tightly along the inside of the barrier” at the edge of the shoulder

“with the flow of traffic” for “approximately one minute” before jumping to the other

side of the barrier. Doc. No. 51-1 at 1, 10; Doc. No. 66-1 ¶ 23. So long as it was

possible for Mr. Rusanowsky to walk a different way, his conduct was a misdemeanor

for which Sgt. Rudloff had statutory authority to arrest him without a warrant. Tex.

Transp. Code §§ 542.301, 543.001; see State v. Jackson, 2010 WL 1532404, at *3 (Tex.

App.—Dallas Apr. 19, 2010, no pet.); Martinez-Cornelio v. State, 2019 WL 4891710,

at *4 (Tex. App.—Texarkana Oct. 4, 2019, pet. ref’d).

      Mr. Rusanowsky makes a colorable argument that it was impossible, as a practi-

cal matter, to walk on the proper side of the interstate.       Doc. No. 61 at 10–11.

Mr. Rusanowsky’s photographs show a number of cars on the roadway, and one ordi-

narily does not cross an interstate when cars are approaching. See, e.g., Doc. No. 66-1

at 18–26.

      There were nonetheless circumstances from which Sgt. Rudloff could have in-

ferred that a crossing was possible. Under Texas law, a pedestrian may cross a highway

without using a crosswalk if he yields to vehicles when crossing might result in a colli-

sion with them. Tex. Transp. Code §§ 541.401(8), 552.005(a). Conditions on Inter-

state 35 indicated that a collision between a vehicle and a crossing pedestrian was un-

likely. Mr. Rusanowsky admits that traffic on the interstate had stopped, and Sgt. Rud-

loff personally observed the same thing. Doc. No. 66-1 ¶ 20; Doc. No. 51-1 at 1.



                                           11
        Case: 24-10455      Document: 29     Page: 31    Date Filed: 09/04/2024




While he was on or near the interstate, Mr. Rusanowsky photographed numerous pro-

testers walking or standing across the breadth of the interstate. Doc. No. 66-1 at 18–

26.   Sgt. Rudloff himself crossed the interstate.      Doc. No. 51-1 at 1.       Even if

Mr. Rusanowsky was wise to be cautious about a crossing, Sgt. Rudloff reasonably

could have expected him to venture one.

      The absence of legal authority instructing Sgt. Rudloff to reach a different con-

clusion is decisive of the issue. Under qualified immunity principles, Sgt. Rudloff could

believe without fear of damages liability that there was probable cause to arrest

Mr. Rusanowsky for walking the wrong way down the interstate unless prevailing au-

thority “obviously” dictated that there was no probable cause under the specific cir-

cumstances confronting him. District of Columbia v. Wesby, 583 U.S. 48, 64 (2018);

Loftin, 33 F.4th at 781–82. The only authority Mr. Rusanowsky cites that interprets

the relevant provision of the Texas traffic statutes is McBride v. State, which held that

a police officer had probable cause to arrest a pedestrian when the officer witnessed the

pedestrian “walking on the wrong side of the street.” 359 S.W.3d 683, 693 (Tex.

App.—Houston [14th Dist.] 2011, pet. ref’d). Other opinions have similar holdings.

See, e.g., Martinez v. City of Rosenberg, 2023 WL 7290471, at *3 (S.D. Tex. Sept. 27,

2023) (granting qualified immunity from false arrest claim); State v. Patterson, 291

S.W.3d 121, 123 (Tex. App.—Amarillo 2009, no pet.); Martinez-Cornelio, 2019 WL

4891710, at *4; Grisham v. State, 2017 WL 1130371, at *5 n.7 (Tex. App.—Austin

Mar. 23, 2017, no pet.). These opinions do not explicitly address Mr. Rusanowsky’s



                                           12
        Case: 24-10455      Document: 29     Page: 32    Date Filed: 09/04/2024




argument that Sgt. Rudloff should have known crossing the interstate was impossible,

but for that reason they do not obviously establish that Sgt. Rudloff would have erred

in concluding otherwise. See Villarreal v. City of Laredo, --- F.4th ---, 2024 WL 244359,

at *7 (5th Cir. Jan. 23, 2024) (en banc).

      Mr. Rusanowsky responds by deriding the testimony of DPD officers who saw

him on Interstate 35 as “untrustworthy” and “conclusory” and the affidavit for his

arrest as “false.” Doc. No. 56 at 15, 29. Sgt. Rudloff does not seriously dispute that

there may be errors in the affidavit, and the Court has not relied on it as evidence of

probable cause, so the Court sets that issue aside. See Doc. No. 62 at 23. The Court

has relied on the officers’ testimony—more precisely, Sgt. Rudloff’s—because it cannot

agree with Mr. Rusanowsky’s characterization of that testimony.

      There is no indication that Sgt. Rudloff’s testimony or the testimony of his fel-

low officers is untrustworthy in any material respect. Mr. Rusanowsky doubts their

testimony because he believes that Sgt. Rudloff contradicted the other officers. It is

true that a contradiction of this sort might require the Court to deny Sgt. Rudloff sum-

mary judgment, but only if a jury could find in favor of Mr. Rusanowsky by accepting

one of the competing testimonial accounts. Royal v. Spragins, 575 F. App’x 300, 304

(5th Cir. 2014); Mills v. Patten, 2019 WL 8138429, at *5 (S.D. Miss. Dec. 2, 2019),

rep. & rec. adopted, 2020 WL 1046823 (S.D. Miss. Mar. 4, 2020). The Court does not

find any inconsistencies in the officers’ testimony satisfying that standard.




                                            13
        Case: 24-10455      Document: 29      Page: 33    Date Filed: 09/04/2024




      Some of the alleged inconsistencies in the officers’ testimony have little to do

with Mr. Rusanowsky’s claims. For example, Sgt. Rudloff recalls subduing a male pro-

tester before shooting a female protester with PepperBall rounds, while a corporal on

the scene appears to recall these events occurring in the opposite order. Compare Doc.

No. 51-1 at 4, with id. at 6. Whatever the correct order may be, it is immaterial to

whether Sgt. Rudloff arrested Mr. Rusanowsky in violation of clearly established

Fourth Amendment principles. Mr. Rusanowsky makes other arguments purporting to

find inconsistencies in the sequence of events recounted by the officers, and all suffer

from the same defect. Doc. No. 56 at 20.

      The remaining alleged inconsistencies in the officers’ testimony do not seem to

be inconsistencies on closer inspection. Mr. Rusanowsky understands Sgt. Rudloff to

testify that his DPD team trailed behind the protesters on Interstate 35 and a fellow

officer to testify that the team moved in front of the protesters, but even if this point

is relevant, Sgt. Rudloff’s testimony does not support Mr. Rusanowsky’s interpretation.

Doc. No. 56 at 18. Sgt. Rudloff testified that the team arrested individuals “coming

from the highway” once the team reached a grassy area off the interstate. Doc. No. 51-

1 at 3. The Court is similarly unconvinced by Mr. Rusanowsky’s attempt to oppose

Sgt. Rudloff’s testimony to another officer’s testimony that the individuals in the grassy

area “appeared to be coming back to the highway.” Doc. No. 56 at 19–20; Doc. No.

51 at 9. The individuals could only be “coming back to the highway” if they had




                                           14
        Case: 24-10455      Document: 29      Page: 34     Date Filed: 09/04/2024




previously been “coming from the highway.” The DPD officers have described contin-

uous rather than conflicting movements by these individuals.

      Insofar as Mr. Rusanowsky brands the officers’ testimony “conclusory” rather

than inconsistent, he appears to misunderstand what the term means at the summary

judgment stage. Because the officers state that they saw Mr. Rusanowsky on the inter-

state without offering much additional detail, Mr. Rusanowsky contends that their tes-

timony is “conclusory on the one fact that arguably matters the most: whether these

officers actually witnessed [him] on the highway.” Doc. No. 56 at 15, 30–31; Doc.

No. 55-1 at 1, 6, 9. He asks the Court to ignore this testimony or give it “little weight.”

Doc. No. 56 at 21–22.

      This would be strange treatment of testimony describing direct personal obser-

vations. The type of conclusory summary judgment testimony the Court generally

disregards is testimony that draws factual inferences or reaches legal conclusions with-

out providing a factual basis for the inferences or conclusions. See Favela v. Collier, 91

F.4th 1210, 1213 (5th Cir. 2024); Reese v. Anderson, 926 F.2d 494, 499 (5th Cir. 1991).

Ignoring such testimony ensures that there is evidence rather than unfounded asser-

tions for the jury to consider at trial. The officers’ observations of Mr. Rusanowsky are

not inferences or conclusions but facts declared to be true. A jury could accept those

observations and find that the officers spotted Mr. Rusanowsky on the interstate. The

officers’ testimony on this point is proper summary judgment evidence. Cf. Walker v.

Norris Cylinder Co., 2005 WL 2278080, at *7 (N.D. Tex. Sept. 19, 2005) (Fitzwater, J.)



                                            15
       Case: 24-10455      Document: 29     Page: 35    Date Filed: 09/04/2024




(overruling objection to testimony that declarant witnessed employee’s presence during

improper weighing of products).

      Having found that Sgt. Rudloff could reasonably have believed he had probable

cause to arrest Mr. Rusanowsky for walking the wrong direction on the interstate and

having rejected Mr. Rusanowsky’s criticisms of Sgt. Rudloff’s evidence, the Court

grants Sgt. Rudloff summary judgment on Mr. Rusanowsky’s false arrest claim.

   B. Retaliatory Arrest

      The Court’s ruling on Mr. Rusanowsky’s false arrest claim is practically disposi-

tive of his First Amendment retaliation claim. Mr. Rusanowsky asserts that Sgt. Rud-

loff arrested him in retribution for photographing Sgt. Rudloff subduing protesters.

Doc. No. 1 ¶¶ 86–95. The First Amendment protected Mr. Rusanowsky’s efforts to

photograph Sgt. Rudloff, but Sgt. Rudloff remained free to arrest Mr. Rusanowsky

upon finding probable cause to think he had committed or was committing a crime.

See Turner v. Driver, 848 F.3d 678, 690 (5th Cir. 2017) (First Amendment right); Nieves

v. Bartlett, 139 S. Ct. 1715, 1725 (2019) (probable cause). The Court has found that

Sgt. Rudloff could reasonably have believed he had probable cause to arrest

Mr. Rusanowsky for walking the wrong way on the interstate under contemporaneous

legal authority. Supra Section III.A. It must conclude that clearly established law

stopped short of prohibiting the arrest regardless of Mr. Rusanowsky’s photography.

See Roy v. City of Monroe, 950 F.3d 245, 255 (5th Cir. 2020); Chuttoo v. Horton, 627 F.

Supp. 3d 655, 677 (E.D. Tex. 2022).



                                          16
        Case: 24-10455      Document: 29     Page: 36    Date Filed: 09/04/2024




      Mr. Rusanowsky tries to show that an exception to the probable cause bar ap-

plies. He points to the Supreme Court’s statement that a First Amendment retaliatory

arrest claim can proceed despite the existence of probable cause for the arrest “where

officers have probable cause to make arrests, but typically exercise their discretion not

to do so.” Nieves, 139 S. Ct. at 1727; Doc. No. 56 at 47; see also Murphy v. Schmitt,

2023 WL 5748752, at *2 (8th Cir. Sept. 6, 2023) (per curiam) (applying this rule and

finding qualified immunity where officer arrested plaintiff for walking on the wrong

side of the street), reh’g en banc denied, No. 22-1726 (8th Cir. Dec. 12, 2023). The

Supreme Court added that probable cause is not dispositive “when a plaintiff presents

objective evidence that he was arrested when otherwise similarly situated individuals

not engaged in the same sort of protected speech had not been.” Nieves, 139 S. Ct.

at 1727. The circuits differ somewhat in their interpretation of the Supreme Court’s

pronouncements, and the Supreme Court has granted certiorari to review the Fifth

Circuit’s interpretation. See Gonzalez v. Trevino, 42 F.4th 487, 493 (5th Cir. 2022)

(rejecting the Seventh Circuit’s more permissive interpretation in Lund v. City of Rock-

ford, 956 F.3d 938, 944 (7th Cir. 2020)), cert. granted, 144 S. Ct. 325 (2023). Whatever

the Supreme Court may decide, it is unlikely to affect the analysis of Mr. Rusanowsky’s

claim. He relies on the type of comparative evidence that the circuits widely agree may

show selective enforcement of the law against individuals exercising First Amendment

rights. Doc. No. 56 at 47; see, e.g., Villarreal, 2024 WL 244359, at *14–15; Gonzalez,

42 F.4th at 493; Turner v. Williams, 65 F.4th 564, 588–89 (11th Cir. 2023); Ballentine



                                           17
        Case: 24-10455      Document: 29      Page: 37     Date Filed: 09/04/2024




v. Tucker, 28 F.4th 54, 62 (9th Cir. 2022); Fenn v. City of Truth or Consequences, 983 F.3d

1143, 1149 (10th Cir. 2020); Lund, 956 F.3d at 945–46.

      The trouble with Mr. Rusanowsky’s evidence is that it does not actually show

selective enforcement. He distinguishes between two groups of individuals, primarily

protesters, who had been on Interstate 35 with him. Doc. No. 56 at 48–49. The first,

including Mr. Rusanowsky, moved to a grassy area off the interstate, and Sgt. Rudloff

arrested them. Id. The second threw objects at Sgt. Rudloff’s team, and Sgt. Rudloff

apparently did not arrest them. Id. Since there is no indication that any of the arrested

protesters were photographing or filming Sgt. Rudloff, comparing the two groups shows

the opposite of what Mr. Rusanowsky hopes it will.                Sgt. Rudloff arrested

Mr. Rusanowsky and the protesters who reached the grassy area without distinguishing

between individuals who recorded him and individuals who did not.                Although

Sgt. Rudloff threatened to arrest other photographers who did not reach the grassy

area, it is undisputed that he ultimately declined to arrest them. See Doc. No. 66-2

¶¶ 17–19.

      Mr. Rusanowsky’s suggestion that Sgt. Rudloff arrested the group in the grassy

area because only this group exercised rights protected by the First Amendment does

not withstand scrutiny. Doc. No. 56 at 49. Mr. Rusanowsky may be correct that the

other group engaged in unprotected violence by throwing objects. Id. He nonetheless

acknowledges that both groups largely comprised protesters, so, excepting the photog-

raphers in the groups, both still engaged in similar protected conduct. Id. at 48–49.



                                            18
        Case: 24-10455      Document: 29      Page: 38     Date Filed: 09/04/2024




Sgt. Rudloff’s decision to arrest some but not all protesters suspected of traffic viola-

tions hardly demonstrates an intent to retaliate against individuals for protesting. See

Powelson v. Sausalito Police Dep’t, --- F. Supp. 3d ---, 2023 WL 7392289, at *12 (N.D.

Cal. Nov. 8, 2023); cf. also Spoon v. Bayou Bridge Pipeline, LLC, --- F. Supp. 3d ---, 2023

WL 4569543, at *26 (M.D. La. July 17, 2023) (finding no exception to the probable

cause bar on retaliatory arrest claims where officers arrested at least some protesters

other than plaintiffs). Mr. Rusanowsky cites no evidence indicating that Sgt. Rudloff

targeted the arrested protesters instead of the other protesters based on differences in

their expressed opinions or any other suspicious circumstance. Cf. Ballentine, 28 F.4th

at 62; Akindes v. City of Kenosha, 2021 WL 4482838, at *13 (E.D. Wis. Sept. 30, 2021).

      There is no reason to exempt Mr. Rusanowsky’s First Amendment retaliatory

arrest claim from the general rule that arguable probable cause to arrest is a valid de-

fense. The Court grants Sgt. Rudloff summary judgment on the claim.

   C. Malicious Prosecution

      The Court lastly grants Sgt. Rudloff summary judgment on Mr. Rusanowsky’s

malicious prosecution claim because malicious prosecution was not a cognizable claim

under the Fourth Amendment at the time Sgt. Rudloff arrested Mr. Rusanowsky.

      Mr. Rusanowsky says Sgt. Rudloff maliciously prosecuted him because, after

Sgt. Rudloff arrested Mr. Rusanowsky, other DPD officers swore out an affidavit for

an arrest warrant falsely charging Mr. Rusanowsky with highway obstruction to justify

jailing him overnight. See Doc. No. 56 at 50; Doc. No. 47-7 at 16.



                                            19
        Case: 24-10455      Document: 29      Page: 39    Date Filed: 09/04/2024




      As Sgt. Rudloff notes, the Fifth Circuit historically held that there is no “free-

standing constitutional right to be free from malicious prosecution.” Castellano v. Fra-

gozo, 352 F.3d 939, 945 (5th Cir. 2003) (en banc); Doc. No. 50 at 37. The Supreme

Court did not abrogate this holding until it issued its decision in Thompson v. Clark, two

years after Mr. Rusanowsky’s arrest. 596 U.S. 36, 42 (2022); see also Armstrong v. Ash-

ley, 60 F.4th 262, 279 (5th Cir. 2023). Mr. Rusanowsky nonetheless relies on Thomp-

son and later authority in support of his malicious prosecution claim. Doc. No. 56

at 49–50. Assuming he is correct that Sgt. Rudloff maliciously prosecuted him under

current legal standards, these authorities still do not show that Sgt. Rudloff violated

law clearly established at the time he arrested Mr. Rusanowsky. For that reason, Sgt.

Rudloff has qualified immunity from Mr. Rusanowsky’s claim. Guerra v. Castillo, 82

F.4th 278, 289 (5th Cir. 2023); Wallace v. Taylor, 2023 WL 2964418, at *6 (5th Cir.

Apr. 14, 2023).

      Although Mr. Rusanowsky at best obliquely raises it, the Court addresses one

additional point in the interest of completeness. Prior to Thompson, the Fifth Circuit

recognized that a claim for Fourth Amendment malicious prosecution might survive if

it was not freestanding, meaning that the maliciously instituted proceedings led to an

independent Fourth Amendment violation such as a detention based on a warrant pro-

cured by fraudulent affidavit. See Winfrey v. Rogers, 901 F.3d 483, 492 (5th Cir. 2018).

To the extent Mr. Rusanowsky tries to bring his malicious prosecution claim within

this rule, it does not fit. Before and after Thompson, Courts have recognized that



                                           20
        Case: 24-10455      Document: 29     Page: 40    Date Filed: 09/04/2024




liability for malicious prosecution extends only to defendants who commit their wrong-

doing by legal process. An arrest pursuant to a warrant counts, but a warrantless arrest

does not. It is not legal process. See, e.g., Baker v. Sebastian, 2023 WL 6393886, at *7

(S.D. Tex. Sept. 30, 2023); Williams v. Aguirre, 965 F.3d 1147, 1158 (11th Cir. 2020);

Harrington v. City of Nashua, 610 F.3d 24, 32 (1st Cir. 2010); Reed v. City of Chi., 77

F.3d 1049, 1053 (7th Cir. 1996); Singer v. Fulton Cnty. Sheriff, 63 F.3d 110, 117 (2d

Cir. 1995). Sgt. Rudloff arrested Mr. Rusanowsky without a warrant. See Doc. No. 51-

1 at 13. He had nothing to do with the affidavit that other officers later prepared in

hopes of securing a warrant to hold Mr. Rusanowsky in jail. Doc. No. 51-1 at 2. Even

if Mr. Rusanowsky could show that the affidavit was false or failed to establish probable

cause for arrest, that would not be a basis for holding Sgt. Rudloff liable. See Melton,

875 F.3d at 262–65; Baker, 2023 WL 6393886, at *7; Reed, 77 F.3d at 1053.

IV.   CONCLUSION

      The Court GRANTS Sgt. Rudloff’s Motion for Summary Judgment and DE-

NIES Mr. Rusanowsky’s Motion for Summary Judgment. The Court DISMISSES

Mr. Rusanowsky’s claims against Sgt. Rudloff with prejudice in their entirety. In a

footnote, Sgt. Rudloff argues that dismissal of Mr. Rusanowsky’s claims against him

requires dismissal of the Mr. Rusanowsky’s claims against the City of Dallas, but the

City has not filed a motion for summary judgment. Doc. No. 50 at 10 n.1. The City

MAY FILE a motion for summary judgment no later than twenty-one days after the

entry of this order. The City shall confine its arguments in support of any such motion



                                           21
       Case: 24-10455     Document: 29     Page: 41    Date Filed: 09/04/2024




to ones that depend on the dismissal of the claims against Sgt. Rudloff and shall not

otherwise raise arguments it could have but chose not to assert by earlier summary

judgment motion. The Court will defer reopening this case in view of the possibility

of a further summary judgment motion.

      SO ORDERED.

      Signed March 4th, 2024.

                                              ____________________________________
                                              ED KINKEADE
                                              UNITED STATES DISTRICT JUDGE




                                         22
Case: 24-10455   Document: 29   Page: 42   Date Filed: 09/04/2024




                 Tab 5
        Case: 24-10455       Document: 29         Page: 43    Date Filed: 09/04/2024




                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

CHRISTOPHER RUSANOWSKY,                       §
                                              §
       Plaintiff,                             §
                                              §
v.                                            §              Civil No. 3:22-CV-01132-K
                                              §
THE CITY OF DALLAS and SGT.                   §
ROGER A. RUDLOFF, individually and            §
in his official capacity as a Dallas Police   §
Department Officer,                           §
                                              §
       Defendants.                            §

                                         ORDER

       Before the Court are Defendant City of Dallas’s Motion for Summary Judgment

(the “Motion for Summary Judgment”) and Brief in support thereof, Doc. Nos. 70–71,

and Plaintiff Christopher Rusanowsky’s Response to Defendant City of Dallas’s Mo-

tion for Summary Judgment and Brief in support thereof. Doc. Nos. 72–73.

       Upon consideration of the parties’ submissions, the Court GRANTS the City of

Dallas’s Motion for Summary Judgment. Mr. Rusanowsky sued the City of Dallas (the

“City”) and Dallas Police Department (“DPD”) Sgt. Roger A. Rudloff under 28 U.S.C.

§ 1983. Doc. No. 1. He alleged that Sgt. Rudloff deprived him of his First and Fourth

Amendment rights by unlawfully arresting him. Id. ¶¶ 86–110. He also alleged that

the City failed to properly train DPD officers and failed to discipline or supervise

Sgt. Rudloff. Id. ¶¶ 111–17. The Court dismissed the failure to train claim with prej-

udice. Doc. No. 40 at 16; Doc. No. 48 at 1. Sgt. Rudloff later moved for summary


                                              1
        Case: 24-10455     Document: 29        Page: 44   Date Filed: 09/04/2024




judgment, but the City did not. Doc. No. 49. The Court granted Sgt. Rudloff’s motion

and dismissed the claims against him. Doc. No. 69. Because Mr. Rudloff argued that

the summary judgment required dismissal of Mr. Rusanowsky’s surviving claims

against the City, the Court allowed the City to file a summary judgment motion, “con-

fin[ing] its arguments in support of any such motion to ones that depend on the dis-

missal of the claims against Sgt. Rudloff.” Id. at 21–22. The City’s summary judgment

motion is now pending before the Court. Doc. No. 70. Mr. Rusanowsky “does not

contest the City’s very narrow argument that applicable precedent appears to compel”

summary judgment.        Doc. No. 72 at 1.        The Court agrees with the parties.

Mr. Rusanowsky has not established an underlying constitutional violation that might

support his municipal liability claims against the City. Grisham v. Valenciano, 93 F.4th

903, 912 (5th Cir. 2024); Loftin v. City of Prentiss, 33 F.4th 774, 783 (5th Cir. 2022).

The Court grants the City summary judgment dismissing his claims against the City

with prejudice and will issue a final judgment separately.

      SO ORDERED.

      Signed April 18th, 2024.

                                                 ____________________________________
                                                 ED KINKEADE
                                                 UNITED STATES DISTRICT JUDGE




                                           2
Case: 24-10455   Document: 29   Page: 45   Date Filed: 09/04/2024




                 Tab 6
Case: 24-10455   Document: 29   Page: 46   Date Filed: 09/04/2024
Case: 24-10455   Document: 29   Page: 47   Date Filed: 09/04/2024
Case: 24-10455   Document: 29   Page: 48   Date Filed: 09/04/2024
Case: 24-10455   Document: 29   Page: 49   Date Filed: 09/04/2024
Case: 24-10455   Document: 29   Page: 50   Date Filed: 09/04/2024
Case: 24-10455   Document: 29   Page: 51   Date Filed: 09/04/2024
Case: 24-10455   Document: 29   Page: 52   Date Filed: 09/04/2024
Case: 24-10455   Document: 29   Page: 53   Date Filed: 09/04/2024
Case: 24-10455   Document: 29   Page: 54   Date Filed: 09/04/2024
Case: 24-10455   Document: 29   Page: 55   Date Filed: 09/04/2024




                 Tab 7
Case: 24-10455   Document: 29   Page: 56   Date Filed: 09/04/2024
Case: 24-10455   Document: 29   Page: 57   Date Filed: 09/04/2024
Case: 24-10455   Document: 29   Page: 58   Date Filed: 09/04/2024
Case: 24-10455   Document: 29   Page: 59   Date Filed: 09/04/2024
      Case: 24-10455   Document: 29 Page: 60 Date Filed: 09/04/2024
Case 3:22-cv-01132-K Document 66-1 Filed 08/16/23 Page 30 of 88 PageID 945




                                                                             24-10455.950
      Case: 24-10455   Document: 29 Page: 61 Date Filed: 09/04/2024
Case 3:22-cv-01132-K Document 66-1 Filed 08/16/23 Page 54 of 88 PageID 969




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      Case: 24-10455   Document: 29 Page: 62 Date Filed: 09/04/2024
Case 3:22-cv-01132-K Document 66-1 Filed 08/16/23 Page 64 of 88 PageID 979




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      Case: 24-10455   Document: 29 Page: 63 Date Filed: 09/04/2024
Case 3:22-cv-01132-K Document 66-1 Filed 08/16/23 Page 68 of 88 PageID 983




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      Case: 24-10455   Document: 29 Page: 64 Date Filed: 09/04/2024
Case 3:22-cv-01132-K Document 66-1 Filed 08/16/23 Page 78 of 88 PageID 993




                                                                             24-10455.998
Case: 24-10455   Document: 29   Page: 65   Date Filed: 09/04/2024




                 Tab 8
Case: 24-10455   Document: 29   Page: 66   Date Filed: 09/04/2024
Case: 24-10455   Document: 29   Page: 67   Date Filed: 09/04/2024
Case: 24-10455   Document: 29   Page: 68   Date Filed: 09/04/2024
Case: 24-10455   Document: 29   Page: 69   Date Filed: 09/04/2024
Case: 24-10455   Document: 29   Page: 70   Date Filed: 09/04/2024
Case: 24-10455   Document: 29   Page: 71   Date Filed: 09/04/2024
Case: 24-10455   Document: 29   Page: 72   Date Filed: 09/04/2024




                 Tab 9
Case: 24-10455   Document: 29   Page: 73   Date Filed: 09/04/2024




                          RUD0000001
Case: 24-10455   Document: 29   Page: 74   Date Filed: 09/04/2024




                          RUD0000002
Case: 24-10455   Document: 29   Page: 75   Date Filed: 09/04/2024




                          RUD0000003
Case: 24-10455   Document: 29   Page: 76   Date Filed: 09/04/2024




                          RUD0000004
Case: 24-10455   Document: 29   Page: 77   Date Filed: 09/04/2024




                          RUD0000005
Case: 24-10455   Document: 29   Page: 78   Date Filed: 09/04/2024




                                                                    RUD0000006
Case: 24-10455   Document: 29   Page: 79   Date Filed: 09/04/2024




                          RUD0000007
Case: 24-10455   Document: 29   Page: 80   Date Filed: 09/04/2024




                          RUD0000008
Case: 24-10455   Document: 29   Page: 81   Date Filed: 09/04/2024




                 Tab 10
      Case: 24-10455    Document: 29   Page: 82   Date Filed: 09/04/2024




                       CERTIFICATE OF SERVICE

     I certify that on September 4, 2024, I caused a true and accurate

copy of the foregoing document to be electronically filed with the Clerk of

the Court for the United States Court of Appeals for the Fifth Circuit

through the CM/ECF system. I certify that the participants in this case

are registered CM/ECF users and that service will be accomplished by

the CM/ECF system.

                                         /s/ Peter B. Steffensen
                                         Counsel for Appellant
